Case: 21-40066 Document: 23 Filed: 05/04/21 Page 1 of 14
Eye
i a.m./pgn.)
MAY 04 2021

Meme Mitlielduirlitelem eM el-laltinum cel mer-t-1--lulem dim litem

Victoria lrene Seaman
Debtor 1
ne First Name Middle Name Last Name CLERK
ollie U.S. BANKRUPTCY COURT
(Spouse, if filing) First Name Middle Name Last Name DISTRICT OF SOUTH DAKOTA

United States Bankruptcy Court for the: District of South Dakota
Case number 21-40066

W Check if this is an
amended filing

Official Form 106A/B
Schedule A/B: Property 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

wa No. Go to Part 2.
C) Yes. Where is the property?

What is the property? Check all that apply. Do not deduct vod dakeos of eetigtions. Pul
Q Single-family home the amount of any secured claims on Schedule D:

4, 7 ; — QO Duplex or multi-unit building Creditors Who Have Claims Secured by Property.
Street address, if available, or other description Oo a :
Condominium or cooperative Current value of the Current value of the
(J Manufactured or mobile home entire property? portion you own?
C) Land $ $
C) Investment property
CJ Timeshare Describe the nature of your ownership
Gly State ZIP Code cae interest (such as fee simple, tenancy by

the entireties, or a life estate), if known.
Who has an interest in the property? Check one.

CY Debtor 1 only

County Q Debtor 2 only
(J Debtor 1 and Debtor 2 only a — = om property
see ins WOns

(J At least one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

If you own or have more than one, list here:

What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put
QO Single-family home the amount of any secured claims on Schedule D:

12. _ _ _ QO Duplex or multi-unit building Creditors Who Have Claims Secured by Property.
Street address, if available, or other description —
C) Condominium or cooperative Current value of the Current value of the
() Manufactured or mobile home entire property? portion you own?
O) Land $ $
C) Investment property
‘ Describe the nature of your ownership
City State ZIP Code U) Timeshare interest (such as fee simple, tenancy by
C) other the entireties, or a life estate), if known.

Who has an interest in the property? Check one.
C1 Debtor 4 only

County C1 Debtor 2 only
C) Debtor 1 and Debtor 2 only C} Check if this is community property
C) At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

Official Form 106A/B Schedule A/B: Property page 1

Case: 21-40066 Document: 23 Filed: 05/04/21 Page 2 of 14

Case number grknonn) 21-40066

Debtor 4 Victoria lrene Seaman
First Name Middla Name Last Name
What is the property? Check all that apply.
43 ( single-family home

Street address, if available, or other description

City State ZIP Code

County

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that mumber here. ... 2.2.02... 02 cces antec ee pene eects pee ee ee eee edeaeeeeede canoe Ren HRMNEBEOnG an newane >

‘Do nol deduct 4 seeurred ctaim: :
cathe amount of. any: secured clainns ' on Schedule
2 Creditors Who Have Claims Secured by Proj oper

QD Duplex or multi-unit building

O) condominium or cooperative Current value of the Current value of the

2) Manufactured or mobite home entire property? portion you own? i
QO) Land § $ :
(1) Investment property
‘ Describe the nature of your ownership
CJ Timeshare
O on interest (such as fee simple, tenancy by
er

the entireties, or a life estate), if known.

Who has an interest in the property? Check cne.
OQ) Debior 1 only

QO) Debtor 2 only

C) Debter 1 and Debtor 2 only

U1 Atleast one of the debtors and another

CY check if this is community property
(see instructions)

Other information you wish to add about this item, such as local
property identification number:

ia Describe Your Vehicles

C] No
ia Yes
3.4. Make: FORD
Model: Expedition
Year: 2005”
195145

Approximate mileage:

Other information:

Poor condition - needs new engine (repair est
$5,800.00)

If you own or have more than one, describe here:

3.2. Make:
Model:
Year.
Approximate mileage:

Other information:

t

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you awn that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

Who has an interest in the property? Check one.

ad Debtor 1 only

C1) Debtor 2 only

(J Debtar 1 and Debtor 2 only

(J Atleast one of the debtors and another

= Do.not deduct secured claims ‘or. exemptions ut:
“the amount of any secured aims on Schedule
Le reditors, Who Have Claims Se red by ‘Proper

Current value of the
entire property?

Current value of the
portion you own?

500 ¢ 500 |

Cl Check if this is community property (see §
instructions)

Who has an interest in the property? Check one.
U) Debtor 4 only

C) Debtor 2 only

C1) Debtor 1 and Debtor 2 only

() Atleast one of the debtors and another

t deduct aequred claims or -exempiior ns: PI
ie ‘amount of any secured claims on Schedule. DB.
te * Creditors Who. Haye: Claims Secured by Prope

Current value of the
portion you own?

Current value of the
entire property?

L) check if this is community property (see § $
instructions)

Official Form 106A/B

Schedule AJB: Property page 2

Case: 21-40066 Document: 23 Filed: 05/04/21 Page 3 of 14

Case number ¢tionawn), 21-40066

Approximate mileage:

Other information:

3.4. Make:
Model:
Year:
Approximate mileage:

Other information:

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

Wi No

UO Yes

44. Make:
Model:
Year:

Other information:

if you own or have more than one, list here:

42, Make:
Model:

Year

Other information:

Who has an interest in the property? Check one. «

Debtor 1 Victoria Irene Seaman
First Name Middle Nama
3.3, Make:
Model: C] Debtor 1 only
©) Debtor 2 only
Year:

C1] Debter 4 and Debtor 2 only
C1 At least one of the debtors and another

Cl Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

UO Debter 1 only

Q) Debtor 2 only

C] Deter 1 and Debtor 2 only

oO Atleast one of the debtors and another

O) cheek if this is community property (see
instructions)

Who has an interest in the property? Check one.

Q Debtor 1 only

O Depter2 only

C) Debtor 1 and Debtor 2 only

CI Atleast one of the debtors and another

1 Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

UI Debtor 1 only

U) Debtor 2 only

C] Debtor 1 and Debtor 2 only

Ct At least one of the debtors and another

sree cone cnt tnt ninth ata

: “=the amount of any seoured dlaims on. Schedule D:
mi Creditors: Wha: Have, Chae r 18 Secured by Property.

hutibe

‘Current value ofthe Current value of the
entire property? portion you own?

‘Do not deduct secured ‘daims, or exemptio - Put
‘© the ameunt of any Securdd claims on’ Schedule D:
“ ~ Craditors: ‘Who Have, Claims Secured i by Property
Current value ofthe Current value of the
entire property? portion you own?

:, the amount of any setuired ‘claims. on: Schedule’ o:
. Creditors Wha, Have Claims Secured’ aby Prope

Current value of the
portion you own?

. Current value of the
entire property?

2 Da. ‘tot deduct secured aims o of éxemptions, Put
amount ‘of any secured claims'on ‘Schedule D
Creditor ns Wao Have Chairits Secured. by. Prope

Current value of the Current value of the
entire property? portion you own?

1
QO) Check if this is community property (see § $
instructions)
5, Add the dollar value of the portion you own for al] of your entries from Part 2, including any entries for pages is 500.00
you have attached for Part 2. Write that number here >
Official Ferm 106A/B Schedule A/B: Property page 3

Case: 21-40066 Document: 23 Filed: 05/04/21 Page 4 of 14

Debior1 _— Victoria Irene Seaman Case number i trown 2 1-40066
First Name Middle Marne Last Name

Describe Your Personal and Household Items

Current value.of th
rtion you: own?

‘exemption

i
;

: 6 Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

O) No
Yes. Describe......... Linens, towels, cutlery, plates, kitchenware $ 50.00
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
QO No
{dl Yes. Describe.......... | Camera, i-pad, printer 3 350.00
8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, of baseball card collections; other callections, memorabilia, collectibles
Wd No
CQ] Yes. Describe... Books / schoal books $ 200.00
9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
OO No
WW Yes. Desctibe.......... Free weights and bands $ 25.00
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
OQ No
id Yes. Describe... Keltec P-32 and 1 box ammunition $ 175.00
11. Clothes
Examples: Everyday clothes, furs, leather coals, designer wear, shoes, accessories
OQ) No
\d Yes. Describe.......... Everyday clothing, shoes, accessories $ 250.00
12, Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver i
U1 No 300.00
Ud Yes. Describe... Everyday jewelry, costume jewelry, watch § -
13.Non-farm animals
Examptes: Dogs, cats, birds, horses
LJ No
i Yes. Deseribe.......... 90.00
2 dogs (Mixed breed rescue dogs) §
14. Any other personal and household items you did not already list, including any health aids you did not list
C) No
WW Yes. Give specific $ 65.00
infarmation, cece Toddler car seat, Toddler running stroller
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $ 1505.00
for Part 3. Write that number here >

Official Form 106A/B Schedule AJB: Property page 4

Case: 21-40066 Document: 23 Filed: 05/04/21 Page 5 of 14

Debtor, —- Wictoria lrene Seaman Case number itkaon 2 140066
First Name Middle Name Last Name

So Describe Your Financial Assets

Do'you own or have any tegal-or equital

portion yau own

16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
LO} No
A ves CASH! ceeseccsesseesetese $ 18.00

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and ather similar institutions. lf you have multiple accounts with the same institution, list each.

O) No
a YES va seesseeessseeseneee Institution name:
17.1. Checking account: Liberty National Bank (20017235) $ 16.61
' 47.2. Checking account: US Bank (175091587469) § 1069.51
i
17.3. Savings account: Liberty National Bank (40024302) * Childs account $ 5.24
i -
: 17.4. Savings account: Liberty National Bank (40017237) § 0.00
17.5. Certificates of deposit: $
17.6. Other financial account Unemployment Checking (Way2Go Card *1236) $ 2.66
17.7. Other financial account: 'USAA Checking Account (0160277035) $ ' 4.89
17.8. Other financial account: $
17.9, Other financial account: $
18. Bonds, mutual funds, or publicly traded stocks ;
Examples: Bond funds, investment accounts with brokerage firms, money market accounts t
a No
OD Yeso Institution or issuer name:
19. Nen-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture
OQ No Name of entity: % of ownership:
{J Yes. Give specific Victoria Seaman DBA Guardian Risk Management 1 a § 0
Tormation about {Names used for self-employment/sole proprietorship) %,
%

Official Form 106A/B Schedule A/B: Property page 5

Case: 21-40066 Document: 23 Filed: 05/04/21 Page 6 of 14

Debtort Victoria lrene Seaman Case number (rtronn 21-4006
First Name Middle Name East Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

J No

O Yes. Give specific Issuer name:
: information about
i REIT ceeseereccsseeeecoees $

1 21. Retirement or pension accounts
{ Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans \

O No
@ Yes. List each
account separately, Type of account: Institution name:
i 401(k) or similar plan: lQVIA _ $ 36.05
Pension plan: g
| re
Retirement account: $
Keogh: 3
Additional account: $
Additional account: 5
i
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a4 company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications 1
companies, or others i
i id No
i BD Yes oes Institution name or individual: i
Electric: §
Gas: $
Heating oil: $
Security deposit on rental unit: $
i Prepaid tent: $
: Telephone: $
Water: §
Rented furniture: $
Other. $
23. Annuities (A contract for a periodic payment of money to you, either for life or far a number of years)
@ No
DD YES ccescsssssscsnseserseanse Issuer name and description:
$
$

Official Form 106A/B Schedule A/B: Property page 6

Case: 21-40066 Document: 23 Filed: 05/04/21 Page 7 of 14

Victoria Irene Seaman 21-40066
Debtor 1 Case number (known)
First Name Midd'a Nama Last Name

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b}, and 529(b}{(1).

ld No

Ces eee ceeecssssseseecsneereee

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1}, and rights or powers
exercisable for your benefit

@ No

CI Yes. Give specific
information about them... $

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Exampies: Internet domain names, websites, proceeds from royalties and licensing agreements

ld No

OO Yes. Give specific
information about them... 5

27, Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
QC) No

ld Yes. Give specific Cosmetology licenses: SD CO-13977-2021/ OK 93607 75.00
information about them....|SD Insurance Resident Producer 40516748 ($25.00 each) 5 .

ot property owed to you?

¥ portion you own?’
Do not deduct secured
dlaims or exemptions:

28. Tax refunds owed to you

QO No
tint 1 Tox. 1K refund of unempleyment eamings on 2020 tax retum due to j
Wd Yes. Give specific information Afvonean Rescue Plan enacted afl i/21, 20g0 ted 4aIaOEL- Federal: $ 4802.69 ;
about them, including whether = j Plus 20211 anticipated tax return ($3802.69) TTT
you already filed the returns State: $
and the tax Years. .....-.sscessssere
Local: $

29. Family support
Examples: Past due or Jump sum alimony, spousal support, child support, maintenance, divorce setilement, property settlement

Wd No

QO) Yes. Give specific information..............

Alimony:

i Maintenance:

Divorce setlement

$
$
Support $
$
$

Property setflement:

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
; Social Security benefits; unpaid loans you made to someone else

-O No
ld Yes. Give specific information............... Pending unemployment benefits ($7,548.00) & Unpaid wages (750.40) 2298.40

$

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Official Form 106A/B Schedule A/B: Property page 7

Case: 21-40066 Document: 23 Filed: 05/04/21 Page 8 of 14

Victoria lrene Seaman 21-40066

Debtor 1 Case number (# known),

First Name Middia Name Last Name

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowners, or renter's insurance

ld No

C) Yes. Name the insurance company

ae Company name:
of each policy and list its value...

Beneficiary:

Surrender or refund value:

; 32. Any interest in property that is due you from someone who has died

property because someone has died.

td No

C) Yes. Give specific infonmation..............

Examples: Accidents, employment disputes, insurance claims, or rights to sue

Cd No

Cl Yes. Describe each claim. ccc

4

to set off claims
td No

CD Yes. Describe each claim. 2...

35. Any financial assets you did not already list

Ld No

QO) Yes. Give specific information............

for Part 4. Write that number here

$
$
$
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive

$

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
$ i

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
3
$

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached 8329.05

> [4% :

t

Ea Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.Do you own or have any legal or equitable interest in any business-related property?
Gd No. Go to Part 6.
CE) Yes. Go to line 38.

38. Accounts receivable or commissions you already earned

OU No
UI Yes. Describe.......

39, Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, tolephones, desks, chairs, electronic devices

OQ) No
Q) Yes. Describe.......

Official Form 106A/B Schedule A/B: Property

page 8

Case: 21-40066 Document: 23 Filed: 05/04/21 Page 9 of 14

Victoria lrene Seaman 21-40066

Debtor 1 Case number (known)
First Name Middle Name Last Name

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

OQ No
UY Yes. Describe....... s
41.Inventory
CO No
C) Yes. Describe....... :
; 42. Interests in partnerships or joint ventures
t LJ No
C2 Yes. Desctibe...... Name of entity: % of ownership:
% $
% $
% §
43. Customer lists, mailing lists, or other compilations
+  UNo :
i C) Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
\ Q) No }
C) Yes. Deseribe........
$
44. Any business-related property you did not already list
O) No
C) Yes. Give specific $
information .........
$ q
$
$ '
$
$
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $
for Part 5. Write that number here .... >

Describe Any Farm- and Gommercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

t
46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

Ld No. Go to Part 7.
Q) Yes. Go to line 47.

“ar exemption
47, Farm animals
Examples: Livestock, poultry, farm-raised fish

Official Form 106A/B Schedule A/B: Property page 9

Debtor Wietoria

Case: 21-40066 Document: 23 Filed: 05/04/21 Page 10 of 14

irene

Seaman

First Name

LC) No

UO) Yes. Give specific
information........

CO) No

O No

C) Yes. Give specific
information........

Middle Name

48. Crops—either growing or harvested

21-40066

Casa number {i known),

49, Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

51. Any farm- and commercial fishing-related property you did not already list

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached g
for Part 6. Write that number here

>

i
i

Describe All Property You Own or Have an Interest in That You Did Not List Above

ld No

C) Yes. Give specific
information........

: 53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

54. Add the dollar value of all of your entries from Part 7. Write that number here

List the Totals of Each Part of this Form

55.Part 1: Total real estate, line 2

56. Part 2: Total vehicles, line 5
57. Part 3: Total personal and household items, line 15
58. Part 4: Total financial assets, line 36

59. Part 5: Total business-related property, line 45

61.Part 7: Total other property not listed, line 54

62. Total personal property. Add lines 56 through 61. .....ssssssesssee

63. Tatal of all praperty on Schedule A/B. Add line 55 + line 62

1505.00

8329.05

$

60. Part 6: Total farm- and fishing-related property, line 52 $

+$

0
0

§ 10334.05

Copy personal property total > + g 10334.05

10334.05

Official Form 106A/B

Schedule AJB: Property

page 10

Case: 21-40066 Document: 23 Filed: 05/04/21 Page 11 of 14

LLAMA) Mabie] eunr-1icel em com (el-1and ism ce] immer: lt

Debtor 1 Victoria Irene Seaman
First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of South Dakota

Case number _21-40066 Mi Check if this is an
pwn amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
UJ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
ae 2021 Tax Return $ 3802.69 i$ 3802.69
description: eee $ S.D. Codified Laws Ann. § 43-45-4
Line from OQ) 100% of fair market value, up to
Schedule A/B: 28 any applicable statutory limit
Brief $.D.Codified Laws Ann. § 61-6-48
Soscription;  -Usemployment $ 1548.00 of 1548.00
i 100% of fair market value, up to
Line from ‘ ia
Schedule A/B: 30. any applicable statutory limit
Brief Vehicle $500.00 $ 500.00 S.D. Codified Laws Ann. 43-45-4
description: Ee ener See
Line fon 0) 100% of fair market value, up to
Schedule A/B: 3.1 _ any applicable statutory limit

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

No

() Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

QO) No
C) Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 3

Debtor 1

Case: 21-40066 Document: 23

Victoria

Filed: 05/04/21 Page

Irene Seaman

12 of 14

Case number (if known) 21-40066

First Name

Midd's Name

Last Name

7 Additional Page
oe pen thee Sperty atid ing 3

Brief
description:

Line from

Schedufe A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description;

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule MBo

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Brief
description:
Line from

Brief
description:
Line from

description:
Line from

. __Copy the value: from:
te Schedule AB
Eamed Wages 5 750.40 Hs 750.40
17 CY 100% of fair market value, up to
— any applicable statutory limit
Licenses $ 75.00 $ 75.00
LJ 100% of fair market value, up to
af any applicable statutory limit
Unincorporated Business 5 0.00 $ 0.00
19 C) 100% of fair market value, up to
—— any applicable statutory limit
Retirement 401k $ 36.05 Ps 36.05
4 L) 100% of fair market value, up to
any applicable statutory limit
Unemployment Amended Tax “
Retum f fefund for 2020 1,000.00 Mg 1,000.00
(1 100% of fair market value, up to
28 any applicable statutory limit
All Wearing Appareal $ 250.00 $ 250.00
1 C1 100% of fair market value, up to
— any 'y applicable st statutory limit
Firearm $ 175.00 [fs 175,00
40 Lt 100% of fair market value, up to
—_ any applicable statutory timit
Pets $ 80.00 Ms 90.00
(1 100% of fair markel value, up to
13 any applicable statutory limit
Books g 200.00 5 200.00
8 CI 100% of fair market value, up to
Schedule A/B: any f applicable st statutory limit
Electronics § 350.00 $ 350.00
7 C2 100% of fair market value, up to
— any applicable statutory limit
Car seat/stroller $ 65.00 Ms 65.00
CI 100% of fair market value, up to
414 any applicable statutory limit
Weights/bands $ 25.00 $ 25,00
CJ 400% of fair market value, up to
4

Schedule A/B:

Official Form 106C

5 Current value ‘of ihe
es portion: you" own’.

Schedule A/B:

Schedule A/B:

Brief

any applicable statutory limit

Schedule C: The Property You Claim as Exempt

iption you-claim »

bdx for each exemption ©

m Specific laws

§.D. Codified Laws Ann. § 43-45-4

$.D. Codified Laws Ann. § 43-45-4

S.D. Codified Laws Ann. § 43-45-4

S.D. Codifted Laws Ann. § 43-45-2(5):
§.D, Codified Laws Ann. § 43-45-4

S.D. Codified Laws Ann. § 4345-4

S.D. Codified Laws Ann. § 43-45-2(4).
S.D. Codified Laws Ann. § 43-454

8. D. Codified Laws Ann. §.43-45-4.

S.D. Codified Laws Ann. § 43-45-4

Debtor 1

Victoria

Case: 21-40066 Document: 23 Filed: 05/04/21 Page 13 of 14

lrene

Seaman

First Name

Middle Naine

LastName

Case number tfknown}

41-40066

= Additional Page

Brief
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s. D. ‘Codified Laws Ann. § 4345-4

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“'§.D. Codified Laws Ann § 43-454
S.D. Codified Laws Ann § 43-45-4

S.D. Codified Laws Ann §43-45-4

§.D. Codified Laws Ann § 43-45-4

Househald goods $ 50.00 wy $ 50.00
6 LJ 100% of fair market value, up to
any applicable Statutory limit
Jewelry $ 300.00 $ 300.00
CQ 100% of fair market value, up to
12
—_ any applicable statutory limit
Cash $ 18.00 uw $ 18.00
16 LY 100% of fair market value, up to
any applicable Statutory I limit
LNB Checking 5 16.61 Hs 16.61
17.1 C1 100% of fair market value, up to
__ any applicable statutory limit
LNB Savings $ 5.24 As §,.24
417.3 (100% of fair market value, up to
. any applicable statutory limit
US Bank Checking 5 1069.51 Ms 1069.51
17.2 CQ 100% of fair market value, up to
— any vy applicable statutory i limit
USAA Checking 5 4.89 Ms 4.89
17.7 LI 100% of fair market value, up to
——__ any applicable statutory limit
2.66 2.66
Unemployment Checking § Us
(2) 100% of fair market value, up to
17.6 any applicable statutory limit
$ Os
L) 100% of fair market value, up to
—_ any applicable statutory limit
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0 100% of fair market value, up to
— any applicable statutory timit
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CD 100% of fair market value, up to
—___ any applicable statutary limit
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Schedule A/B:

Official Form 106C

LJ 100% of fair market value, up to
any applicable statutory limit

Schedule C: The Property You Claim as Exempt

Case: 21-40066 Document: 23 Filed: 05/04/21 Page 14 of 14

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Debtor 4 Victoria lrene Seaman

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: District of South Dakota [=]
Case number ?1-40066
(If known)

@ Check if this is an

amended filing

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 1245

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

W No

CQ) Yes. Name of person . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

x

Signature of Debtor 2

Date 05|04} 29721 Date
MM/ DD / MM/ DD / YYYY

Signature of Debtor 1

Official Form 106Dec Declaration About an Individual Debtor’s Schedules
